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                                           September 12, 2024

    VIA ECF
    Honorable Michael A. Hammer
    United States District Court
    Martin Luther King Building & U.S. Courthouse
    50 Walnut Street
    Newark, NJ 07101

                             Re: Nina Agdal v. Dillon Danis, 23-CV-16873 (MCA)(MAH)

    Dear Judge Hammer:

            We represent Plaintiff Nina Agdal. We are in receipt of Mr. Berman’s motion to
    withdraw as counsel for Defendant Dillon Danis. Plaintiff takes no position on the Motion but
    requests that, before Your Honor rules on the Motion, the Court schedule an in-person status
    conference at which defendant must appear. The purpose of this conference would be to inquire
    about the circumstances underlying the Motion and whether Mr. Danis intends to engage
    substitute counsel, and, if not, to address the unique implications of Defendant proceeding pro se
    in this matter, especially given his litigation conduct to date.

            This matter stems from Defendant’s relentless campaign of cyber harassment and
    bullying against Plaintiff, through which he attacked Plaintiff numerous times on social media,
    including by posting a nonconsensual sexually explicit photograph of her and by threating to post
    additional offensive content of Plaintiff. Defendant’s conduct has continued even after this
    lawsuit was filed. Because of Defendant’s harassing conduct, the Parties entered into a
    Confidentiality Agreement that includes an “Attorney’s Eyes Only” provision to protect
    Plaintiff’s sensitive information (including health records and information bearing on the distress
    that Defendant’s conduct caused) from being provided directly to Defendant.

           Setting aside Plaintiff’s concerns with Mr. Danis having direct access to her sensitive
    information given the conduct that gives rise to her claims against him, Plaintiff also is
    concerned that Defendant’s litigation conduct – including his lack of communication with
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  counsel and his ongoing failure to abide by multiple Court orders (as ser forth in the motion to
  withdraw) – is motivated by a desire to stymy and delay Plaintiff’s ability to prosecute her case.
  Discovery is ongoing, with several depositions set in the coming weeks, including a nonparty
  deposition on September 16 and Defendant’s initial deposition on October 8. Plaintiff submits
  that, if Defendant will proceed without counsel, this Court first should impress upon him his
  continuing discovery obligations, including the duty to preserve any records or information
  related to the allegations in the Second Amended Complaint, and of the potential sanctions for
  not complying with those obligations or not taking this proceeding seriously.

         Additionally, Plaintiff asks that, at the conference, this Court require Defendant to
  provide, under oath, the information that was ordered to be set forth in a status report/declaration,
  pursuant to the Court’s September 3 and 10, 2024 Orders. And, finally, consistent with the
  September 10, 2024 Order, Plaintiff requests that this Court issue an Order to Show Cause as to
  why this Court should not impose sanctions against Mr. Danis, based on his failure to comply
  with the Court’s prior Orders.

         Thank You for Your Honor’s consideration of this request.

                                                                Respectfully submitted,

                                                                /s/ Joseph B. Shumofsky

                                                                Joseph B. Shumofsky

  cc:    Counsel for Defendant Dillon Danis (via ECF)
